Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 1 of 10 PageID 2119




                                       UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION

  HINES INTERESTS LIMITED PARTNERSHIP,
  a Texas limited partnership; URBAN OAKS
  BUILDERS,LLC, a Delaware limited liability
  company; 1662 MULTIFAMILY LLC, a
  Delaware limited liability company; HINES 1662
  MULTIFAMILY, LLC, a Delaware limited
  liability company; HINES INVESTMENT
  MANAGEMENT HOLDINGS LIMITED
  PARTNERSHIP, a Texas limited partnership;
  HIMH GP, LLC, a Delaware limited liability
  company; HINES REAL ESTATE HOLDINGS
  LIMITED PARTNERSHIP, a Texas limited
  partnership; JCH INVESTMENTS, Inc., a Texas
  corporation;

           Plaintiffs,

  v.
                                                                     CASE NO. 6:18-CV-1147-ORL-DCJ
  SOUTHSTAR CAPITAL GROUP I, LLC, A
  Florida limited liability company;
  COTTINGTON ROAD TIC, LLC, a Delaware
  limited liability company; DURBAN ROAD TIC,
  LLC, a Delaware limited liability company;
  COLLIS ROOFING, INC., a Florida corporation;
  DA PAU ENTERPRISES, INC., a Florida
  corporation; FLORIDA CONSTRUCTION
  SERVICES, INC., a Florida corporation;
  STRUCTURALCONTRACTORS SOUTH,
  INC., a Florida corporation; NAVIGATORS
  SPECIALTY INSURANCE COMPANY, a New
  York corporation; GEMINI INSURANCE
  COMPANY, a Delaware corporation; and
  IRONSHORE
  SPECIALTY INSURANCE COMPANY, an
  Arizona corporation,

           Defendant.




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Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 2 of 10 PageID 2120
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



   DEFENDANT, IRONSHORE SPECIALTY INSURANCE COMPANY'S RESPONSE IN
     OPPOSITION TO PLAINTIFF, URBAN OAKS BUILDERS LLC'S MOTION TO
                        TRANSFER VENUE [D.E. 47]

           Defendant, IRONSHORE SPECIALTY INSURANCE COMPANY (“Ironshore”), by and

  through undersigned counsel, files this response and Memorandum of Law in opposition to

  Plaintiff, URBAN OAKS BUILDER LLC's ("Urban Oaks" or the "Debtor") Motion to Transfer

  Venue (the "Motion"), and respectfully request that this Court deny the Motion for the reasons

  described herein below:

                                                  INTRODUCTION

           1.        Notwithstanding its length and detailed discussion of bankruptcy law. Urban Oaks,

  a plaintiff in this case, unequivocally acknowledges that the sole basis for commencing its case

  under Chapter 11 of Title 11 of the United States Code (the "Bankruptcy Code") in Texas was to

  create a forum to which this case could be transferred. 1 Having filed suit in Florida, where the

  project that lead to the underlying litigation is located, and the only state in which jurisdiction was

  proper, Urban Oaks has now determined that it is more convenient for its own purposes to have

  this case heard by a Texas Bankruptcy Court, regardless of the fact that other than Urban Oaks,

  none of the parties are in Texas. This is forum shopping in its most blatant form and it should not

  be condoned. The Motion should be denied.

                                                  BACKGROUND

           2.         On or about February 13, 2018, Hines and Urban Oaks were named as defendants

  in an action styled, Southstar Capital Group, I, LLC, et al. v. 1662 Multifamily LLC, et al., (the




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              Ironshore believes the act of the filing of the Debtor's Chapter 11 Case may have been was improper and
  reserves its right to seek to dismiss it, for cause, pursuant to section 1112 of the Bankruptcy Code.


                                                              -2-
FOWLER WHITE BURNETT P.A. • ONE FINANCIAL PLAZA, SUITE 2100, 100 SOUTHEAST THIRD AVENUE, FORT LAUDERDALE, FL 33394• (954) 377-8100
Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 3 of 10 PageID 2121
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



  "Association Lawsuit"), which was filed and is presently pending in the Circuit Court for the Ninth

  Judicial Circuit in and for Osceola County, Florida. See [D.E. 33-1].

           3.        The Association Lawsuit involves the construction of SOLA at Celebration

  (“Project”), which was constructed between 2014 and 2016, and consisted of six four-story

  buildings, with a total of 306 apartment units. Id.

           4.        The Association’s Complaint included claims against Ironshore's Insureds for

  various construction defects and allegations of negligence and breach of contract. Id.

           5.        On July 17, 2018, Defendant GEMINI INSURANCE COMPANY ("Gemini")

  removed this action to this Court from the Circuit Court of the Ninth Judicial Circuit in and for

  Osceola County, Florida. [D.E. 1].

           6.        On August 10, 2018, Ironshore filed a cross-claim against Gemini arguing, among

  other things, that Gemini has a duty to defend its insureds in the Underlying Litigation; Gemini

  has not exhausted under its policy; and, there are multiple occurrences as defined under Gemini's

  policy. [D.E. 33]

           7.        On August 31, 2018, Urban Oaks filed its Chapter 11 case in the United States

  Bankruptcy Court for the Southern District of Texas (the "Bankruptcy Court"). Immediately

  thereafter, on September 4, 2018, Urban Oaks filed the Motion with this court.

                                                       ARGUMENT

           8.        Paragraph 32 of the Motion leaves no doubt that the sole purpose of the

  commencement of the bankruptcy case was the existence of this case. While this may warrant

  filing a Petition for Relief under the Bankruptcy Code if the Debtor were a defendant in certain

  litigation (and had other claims against it so as to genuinely warrant an actual restructuring of its

  affairs). Similarly, in the Declaration in Support of Chapter 11 Petition, the Vice President of



                                                              -3-
FOWLER WHITE BURNETT P.A. • ONE FINANCIAL PLAZA, SUITE 2100, 100 SOUTHEAST THIRD AVENUE, FORT LAUDERDALE, FL 33394• (954) 377-8100
Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 4 of 10 PageID 2122
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



  Construction for Urban Oaks, Todd Hagood, contends that "as a result of, Southstar's claims, the

  uncertainty caused by the insurance carriers' unwillingness to cover UOB, and the litigation costs

  of simultaneously defending against Southstar's claims and litigating against its insurance

  carriers," is the reason that it is voluntarily filing for chapter 11 bankruptcy relief. No other reason

  or basis for the commencement of its bankruptcy case is stated, either in the Motion or in the

  bankruptcy case.

           9.        The primary basis of Urban Oaks' venue transfer request is that its bankruptcy status

  somehow warrants transfer for referral to the Texas Bankruptcy Court presiding over those

  proceedings. This argument fails for the following reasons: (1) bankruptcy status alone does not

  mandate transfer of Ironshore's claims against Gemini; (2) transfer to the Texas Bankruptcy Court

  would be pointless because that court lacks jurisdiction to decide the merits of Ironshore's cross-

  claim; and (3) the traditional convenience and justice factors for venue weigh against transfer.

  Indeed, there is nothing about the existence of the bankruptcy case itself, other than the fact that it

  has been filed in Texas, to warrant a transfer of venue.

           Urban Oaks' request for transfer is inappropriate and unwarranted because the relevant

  factors weigh against transfer of the present case to the Texas Bankruptcy Court. Under 28 U.S.C.

  §1412, this Court may transfer this case where such a transfer is “in the interest of justice or for

  the convenience of the parties.” 28 U.S.C. §1412. Transfer of venue pursuant to §1412 requires a

  case-by-case analysis and the party seeking the transfer has the burden to show that transfer is

  appropriate and must do so by a preponderance of the evidence. See Puerto Rico v. Commonwealth

  Oil Refining Co., Inc. (In re Commonwealth Oil Refining Co., Inc.), 596 F.2d 1239, 1241 (5th Cir.

  1979). In this matter, however, Urban Oaks cannot prove that transfer of this matter is in the

  interest of justice or for the convenience of the parties.



                                                              -4-
FOWLER WHITE BURNETT P.A. • ONE FINANCIAL PLAZA, SUITE 2100, 100 SOUTHEAST THIRD AVENUE, FORT LAUDERDALE, FL 33394• (954) 377-8100
Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 5 of 10 PageID 2123
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



           In determining whether a case should be transferred under the “interest of justice” prong,

  the most important factor is whether the transfer of the proceeding would promote the economic

  and efficient administration of the estate. See In re Manville Forest Products Corp., 896 F.2d 1384,

  1391 (2nd Cir. 1990); In re Commonwealth Oil Refining Co., Inc., supra, at 1247. As indicated

  above, the Texas Bankruptcy Court is not any more familiar with the facts of this matter. There is

  no evidence that the Texas Bankruptcy Court is more familiar with the applicable law in this

  matter. Likewise, Urban Oaks has not shown that this matter has had any effect, or would have

  any effect, on the administration of its bankruptcy estate. Indeed, upon information and belief, this

  case is Urban Oaks's bankruptcy estate. Urban Oaks has not shown, and cannot show that there

  will be any increase in judicial economy or efficiency from the transfer of this matter, or even any

  decrease in the efficient administration of the Debtor'' bankruptcy estate, as a result of a failure to

  transfer this matter. The only effect of a transfer is that it will enable the Debtor to litigate this case

  on a home turf created solely by the commencement of its bankruptcy case.

           Contrary to Urban Oaks' representations, the Texas Bankruptcy Court can not adjudicate

  all claims in this matter. As discussed below, numerous claims in the matter before this Court,

  including Ironshore's cross-claim against Gemini, are claims that can not be adjudicated in the

  Texas Bankruptcy Court and the transfer of this matter will not resolve any alleged problem of

  inconsistent rulings and judgments or increased judicial economy.

           As to the "convenience of the parties" and witnesses prong, Urban Oaks can hardly argue

  that it is inconvenienced by the chosen venue of this proceeding. Urban Oaks was involved in the

  construction of SOLA at Celebration, which was constructed between 2014 and 2016, and

  consisted of six four-story buildings, with a total of 306 apartment units in Osceola County,




                                                              -5-
FOWLER WHITE BURNETT P.A. • ONE FINANCIAL PLAZA, SUITE 2100, 100 SOUTHEAST THIRD AVENUE, FORT LAUDERDALE, FL 33394• (954) 377-8100
Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 6 of 10 PageID 2124
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



  Florida. Thus, the place of occurrence of material events, Osceola County, Florida, favors retaining

  venue in the Middle District of Florida.

            Urban Oaks inaccurately states in its Motion that the Insurance Carrier Defendants,

  including Ironshore, have refused to provide coverage for and defend and indemnify Urban Oaks

  or the other Plaintiffs from the claims asserted in the Southstar Lawsuit. ¶30. Ironshore has retained

  Florida defense counsel to defend Urban Oaks in the Southstar Lawsuit, which further favors

  maintaining this action in Florida.

           While the convenience of the witnesses is often a significant factor in deciding a motion to

  transfer venue. Moto Photo, Inc. v. K.J. Broadhurst Enterprises, Inc., 2003 WL 298799 (N.D. Tex.

  Feb. 10, 2003), Urban Oaks "must specifically identify the key witnesses and outline the substance

  of their testimony." Id. , Urban Oaks failed to specifically identify any of its key witnesses or to

  outline the substance of their testimony. Rather, Moreover, Urban Oaks ignored the presence of

  third-party witnesses in Florida, whose testimony will be critical in Ironshore's case-in-chief and

  rebuttal to Gemini's defenses.

           A transfer of venue should not be granted if the result is merely to shift the inconvenience

  from one party to the other. Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834 (9th Cir.

  1986); Dupre, 810 F. Supp. at 826; Moto Photo, Inc., 2003 WL 298799, at *4 (emphasis added).

  This is precisely what Urban Oaks desires, going so far as to create jurisdiction in a court (which

  could only have occurred by virtue of its filing a Petition for Relief under the Bankruptcy Code),

  so as to avoid being compelled to litigate in Florida, where it commenced this case. A transfer of

  venue would merely shift the inconvenience to the rest of the defendants as opposed to Urban Oaks

  in terms of both travel and costs for the witnesses. This factor weighs in favor of venue remaining

  in the Middle District of Florida.



                                                              -6-
FOWLER WHITE BURNETT P.A. • ONE FINANCIAL PLAZA, SUITE 2100, 100 SOUTHEAST THIRD AVENUE, FORT LAUDERDALE, FL 33394• (954) 377-8100
Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 7 of 10 PageID 2125
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



                                                            CONCLUSION

            Urban Oaks cannot prove that the transfer of this matter would be in the interests of justice

  or for the convenience of the parties. The transfer of this matter will not promote the economic

  and efficient administration of the bankruptcy estate (rather it will just place an additional burden

  on the Texas bankruptcy court) and the most efficient and economic resolution of the claims herein

  can be accomplished in this Court. The Motion should be denied.




                                                              -7-
FOWLER WHITE BURNETT P.A. • ONE FINANCIAL PLAZA, SUITE 2100, 100 SOUTHEAST THIRD AVENUE, FORT LAUDERDALE, FL 33394• (954) 377-8100
Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 8 of 10 PageID 2126
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



                                           CERTIFICATE OF SERVICE

           I hereby certify that on September 18, 2018, the foregoing document was electronically

  filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record on the attached Service List in the manner specified,

  either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive electronically

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                                                              -8-
FOWLER WHITE BURNETT P.A. • ONE FINANCIAL PLAZA, SUITE 2100, 100 SOUTHEAST THIRD AVENUE, FORT LAUDERDALE, FL 33394• (954) 377-8100
Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 9 of 10 PageID 2127
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



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                                                              -9-
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Case 6:18-cv-01147-ACC-DCI Document 56 Filed 09/18/18 Page 10 of 10 PageID 2128
                                                                               CASE NO. 6:18-CV-1147-ORL-DCJ



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                                                             - 10 -
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